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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                 NO. 3:15-cr-00496-L

USPLABS, LLC, A TEXAS LIMITED
LIABILITY COMPANY;
JACOBO GEISSLER (a.k.a. JACOB
GEISSLER);
JONATHAN DOYLE;
MATTHEW HEBERT;
KENNETH MILES;
S. K. LABORATORIES, INC., A
CALIFORNIA CORPORATION;
SITESH PATEL; and
CYRIL WILLSON (a.k.a. ERIK WHITE).


                                            ORDER

       Before the Court is the motion of the Defendants USPlabs, LLC, Jacobo Geissler,

Jonathan Doyle, Matthew Hebert, Kenneth Miles, S.K. Laboratories, Inc., and Sitesh Patel

(collectively, “Defendants”), requesting that the Court dismiss Count 9 and Count 10 of the

Superseding Indictment (ECF #95, at 10), for failure to state an offense as required by FED. R.

CRIM. P. 7(c)(1) and the U.S. CONST. amend. V, VI. (ECF #221) The Court GRANTS the

motion for the reasons stated in the Defendants’ Motion.

       It is the ORDER of the Court that Counts 9 and 10 of the superseding indictment are

hereby DISMISSED.

       Dated this ___ day of ___, 2017.




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                                                    SAM A. LINDSAY
                                                    UNITED STATES DISTRICT JUDGE
